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         EXHIBIT 24
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                     Subject: Fwd: China
                       From: "Mike Fenger" <                    >
                Received(Date): Sun, 25 Nov 2018 03:36:45 +0000
                          To: "Kevan Parekh" <                    >
                        Date: Sun, 25 Nov 2018 03:36:45 +0000


               Sent from my iPhone

               Begin forwarded message:

               From: Mike Fenger <                      >

               Date: November 24, 2018 at 7:36:18 PM PST

               To:                      , Stella Ye <                  >,

               Subject: Fwd: China

               Guys,

               I think Tim is reacting to the week over week performance which is probably mostly driven by
               11.11. But can you put together a summary of what is happening on year-over-year basis and
               summarize all of the demand generation and other actions that we are taking?

               Mike

               Sent from my iPhone

               Begin forwarded message:

                From: Tim Cook <                   >
                Date: November 24, 2018 at 6:42:29 PM PST
                To: Mike Fenger <                  >, Kevan Parekh <                       >
                Subject: China

                What’s happening and what are we doing about it?

                Sent from my iPad Pro




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